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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                               CASE NO. 23-80015-CIV-CANNON

  JOHN ANTHONY CASTRO,

          Plaintiff,
  v.

  DONALD J. TRUMP,

        Defendant.
  ________________________________/

      ORDER GRANTING DEFENDANT’S MOTION TO DISMISS AND CLOSING CASE

          THIS CAUSE comes before the Court upon Defendant’s Motion to Dismiss (the

  “Motion”), filed on February 15, 2023 [ECF No. 18]. The Court has reviewed the Amended

  Complaint [ECF No. 7], the Motion [ECF No. 18], Plaintiff’s Response in Opposition

  [ECF No. 26], Defendant’s Reply [ECF No. 28], and the full record. Upon full review, and

  accepting as true the allegations in the Amended Complaint [ECF No. 7], 1 the Motion

  [ECF No. 18] is GRANTED. Plaintiff’s Complaint is DISMISSED for lack of Article III

  standing and ripeness. Because Plaintiff has not alleged concrete harm or ripeness as required

  under Article III, the Court need not consider the merits of Defendant’s additional arguments.

                                                 ***

       Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

          1. Defendant’s Motion to Dismiss [ECF No. 18] is GRANTED.

          2. Plaintiff’s Amended Complaint [ECF No. 7] is DISMISSED WITHOUT

              PREJUDICE.



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    The Court previously granted Plaintiff leave to file an amended complaint after dismissing his
  initial Complaint as a shotgun pleading [ECF No. 6 p. 6].
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        3. Plaintiff’s Motion for Ruling and to Expedite Consideration [ECF No. 30] is DENIED

           AS MOOT.

        4. The Clerk is directed to CLOSE this case.

        DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 23rd day of June 2023.




                                                  _________________________________
                                                  AILEEN M. CANNON
                                                  UNITED STATES DISTRICT JUDGE


  cc:   counsel of record




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